Case 1:04-cr-10022-.]DT Document69 Filed 04/22/05 Pagelon P |D 67

0 -
O.s‘ <£¢
IN THE UNITED STATES DISTRICT COURT x 439 \\
FOR 'I`I-IE WESTERN DISTRICT OF TENNESSEE /~, v 0 ` \

EASTERN DIVISION ,,,»;i'>/<‘/::>
' 4`&
UNITED sTATES 0F AMERICA, ._
Plaimiff, <F@Q/`
vs. Case No. l:04cr10022-l
JONATHAN ROBERT MCDOUGLE

Defcndant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond. It now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $15,000/10%= $1500.00)appearance bond (receipt 127262 )
for this defenth be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum
of $1500.00, payable to: Jerry W. Chism, 10 Ridgedale Drive, Jackson, TN 38305; in full refund of the cash

appearance bond posted herein.

 

2). QWML
J D. ToDD

ED STATES DISTRICT JUDGE

DATE: 9", W ?M(

  

Approvcd:

ROBERT R. DI TROLIO, CL OF COURT
BY: C "

Deputy Clerk

Thls document¢nwred onthe disclaim loggith
with Rula 55 and!of 32(b) FRCrPQn a
é Cf

 

0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 1:04-CR-10022 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. BOX 3512

Jackson, TN 38303--351

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

